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17    Facsimile: (212) 849-7100                       Facsimile: (415) 875-6700
18
     Counsel for Defendant Google LLC
19
                                  UNITED STATES DISTRICT COURT
20
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21
      PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-5146-YGR-SVK
22    themselves and all others similarly situated,
                                                      CORRECTED    DECLARATION    OF
23           Plaintiffs,                              JONATHAN TSE IN SUPPORT OF
                                                      PLAINTIFFS’     ADMINISTRATIVE
24                                                    MOTION TO SEAL THEIR MOTION
             v.                                       FOR LEAVE TO SUPPLEMENT
25
      GOOGLE LLC,                                     Judge: Hon. Susan van Keulen, USMJ
26
             Defendant.
27

28

                                                                   Case No. 4:20-cv-5146-YGR-SVK
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 1         I, Jonathan Tse, declare as follows:
 2         1.      I am a member of the bar of the State of California and an attorney at Quinn Emanuel
 3 Urquhart & Sullivan, LLP, attorneys for Defendant Google LLC (“Google”) in this action. I make

 4 this declaration of my own personal, firsthand knowledge, and if called and sworn as a witness, I

 5 could and would testify competently thereto.

 6         2.      I am making this declaration pursuant to Civil Local Rule 79-5(e)-(f) as an attorney
 7 for Google as the Designating Party, pursuant to Civil Local Rule 79-5(f)(3) in response to Dkt.

 8 621.

 9         3.      On May 2, 2022, Plaintiffs filed their Plaintiffs’ Motion for Leave to Supplement
10 Plaintiffs’ April 15, 2022 Response to Google’s Objections to the Special Master’s Sealed

11 Recommendations and Order Dated April 4, 2022 (Dkt. No. 604) Based on Newly Produced

12 Evidence. On May 2, 2022, I received an unredacted service copy of these documents.

13         4.      I have reviewed the documents that Plaintiffs seek to file under seal pursuant to Civil
14 Local Rule 79-5. Based on my review, there is good cause to seal the following information:

15         Document              Text To Be Sealed          Basis for Sealing Portion of Document
      Plaintiffs’ Motion      Portions highlighted in The information requested to be sealed
16    for     Leave      to   blue at:                   contains Google’s highly confidential and
17    Supplement                                         proprietary information regarding highly
      Plaintiffs’ April 15,   Pages 2:19-20, 2:22, 3:6, sensitive features of Google’s internal
18    2022 Response to        3:8-9, 5:6, 5:14, 6:14-21, systems and operations, including various
      Google’s                6:25, 7:20, 7:22, 7:27, types of Google’s internal projects, data
19    Objections to the       8:1, 8:4-5, 8:11-14, 8:16- signals, and logs, and their proprietary
      Special Master’s        17, 9:2, 9:18, 9:26-28, functionalities, that Google maintains as
20    Sealed                  10:1, 10:6, 10:15, 10:17, confidential in the ordinary course of its
21    Recommendations         10:19-22,       10:24-25, business and is not generally known to the
      and Order Dated         11:16, 11:28, 12:4-6, public or Google’s competitors. Such
22    April 4, 2022 (Dkt.     12:8, 12:11-12, 12:26, confidential and proprietary information
      No. 604) Based on       13:10, 13:12, 13:18-19, reveals Google’s internal strategies, system
23    Newly Produced          13:24, 13:27, 14:3, 14:6, designs, and business practices for operating
      Evidence                14:9-10, 14:13-14, 14:16, and maintaining many of its important
24
                              14:18                      services, and falls within the protected scope
25                                                       of the Protective Order entered in this action.
                                                         See Dkt. 61 at 2-3. Public disclosure of such
26                                                       confidential and proprietary information
                                                         could affect Google’s competitive standing as
27                                                       competitors may alter their systems and
                                                         practices relating to competing products. It
28
                                                         may also place Google at an increased risk of

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 1                                                   cybersecurity threats, as third parties may
                                                     seek to use the information to compromise
 2                                                   Google’s internal practices relating to
                                                     competing products.
 3
      Exhibit A (Shafiq Portions highlighted in      The information requested to be sealed
 4    Supplemental      blue at:                     contains Google’s highly confidential and
      Report)                                        proprietary information regarding highly
 5                      Pages 1:26, 2:5, 2:17-18,    sensitive features of Google’s internal
                        2:22-23, 2:26, 3:1-2, 3:4,   systems and operations, including various
 6                      3:6-9, 3:17                  types of Google’s internal projects, data
 7                                                   signals, and logs, and their proprietary
                                                     functionalities, that Google maintains as
 8                                                   confidential in the ordinary course of its
                                                     business and is not generally known to the
 9                                                   public or Google’s competitors. Such
                                                     confidential and proprietary information
10                                                   reveals Google’s internal strategies, system
11                                                   designs, and business practices for operating
                                                     and maintaining many of its important
12                                                   services, and falls within the protected scope
                                                     of the Protective Order entered in this action.
13                                                   See Dkt. 61 at 2-3. Public disclosure of such
                                                     confidential and proprietary information
14
                                                     could affect Google’s competitive standing as
15                                                   competitors may alter their systems and
                                                     practices relating to competing products. It
16                                                   may also place Google at an increased risk of
                                                     cybersecurity threats, as third parties may
17                                                   seek to use the information to compromise
                                                     Google’s internal practices relating to
18
                                                     competing products.
19    Exhibit B (January Portions highlighted in     The information requested to be sealed
      29, 2021 Letter blue at:                       contains Google’s highly confidential and
20    from Google to                                 proprietary information regarding highly
      Plaintiffs)        Pages 2-5                   sensitive features of Google’s internal
21                                                   systems and operations, including various
22                                                   types of Google’s internal projects, data
                                                     signals, and logs, and their proprietary
23                                                   functionalities, that Google maintains as
                                                     confidential in the ordinary course of its
24                                                   business and is not generally known to the
                                                     public or Google’s competitors. Such
25                                                   confidential and proprietary information
26                                                   reveals Google’s internal strategies, system
                                                     designs, and business practices for operating
27                                                   and maintaining many of its important
                                                     services, and falls within the protected scope
28                                                   of the Protective Order entered in this action.

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 1                                                 See Dkt. 61 at 2-3. Public disclosure of such
                                                   confidential and proprietary information
 2                                                 could affect Google’s competitive standing as
                                                   competitors may alter their systems and
 3
                                                   practices relating to competing products. It
 4                                                 may also place Google at an increased risk of
                                                   cybersecurity threats, as third parties may
 5                                                 seek to use the information to compromise
                                                   Google’s internal practices relating to
 6                                                 competing products.
 7    Exhibit C (GOOG-     Portions highlighted in The information requested to be sealed
      CALH-01170421)       blue at:                contains Google’s highly confidential and
 8                                                 proprietary information regarding highly
                           Sealed in its entirety  sensitive features of Google’s internal
 9                                                 systems and operations, including various
                                                   types of Google’s internal projects, data
10                                                 signals, and logs, and their proprietary
11                                                 functionalities, that Google maintains as
                                                   confidential in the ordinary course of its
12                                                 business and is not generally known to the
                                                   public or Google’s competitors. Such
13                                                 confidential and proprietary information
                                                   reveals Google’s internal strategies, system
14
                                                   designs, and business practices for operating
15                                                 and maintaining many of its important
                                                   services, and falls within the protected scope
16                                                 of the Protective Order entered in this action.
                                                   See Dkt. 61 at 2-3. Public disclosure of such
17                                                 confidential and proprietary information
                                                   could affect Google’s competitive standing as
18
                                                   competitors may alter their systems and
19                                                 practices relating to competing products. It
                                                   may also place Google at an increased risk of
20                                                 cybersecurity threats, as third parties may
                                                   seek to use the information to compromise
21                                                 Google’s internal practices relating to
                                                   competing products.
22
      Exhibit D (January   Portions highlighted in The information requested to be sealed
23    13, 2022 Dep. Tr.    blue at:                contains Google’s highly confidential and
      Of Tim Schumann)                             proprietary information regarding highly
24                         Sealed in its entirety  sensitive features of Google’s internal
                                                   systems and operations, including various
25                                                 types of Google’s internal projects, data
26                                                 signals, and logs, and their proprietary
                                                   functionalities, that Google maintains as
27                                                 confidential in the ordinary course of its
                                                   business and is not generally known to the
28                                                 public or Google’s competitors. Such

                                                3                 Case No. 4:20-cv-5146-YGR-SVK
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 1                                                         confidential and proprietary information
                                                           reveals Google’s internal strategies, system
 2                                                         designs, and business practices for operating
                                                           and maintaining many of its important
 3
                                                           services, and falls within the protected scope
 4                                                         of the Protective Order entered in this action.
                                                           See Dkt. 61 at 2-3. Public disclosure of such
 5                                                         confidential and proprietary information
                                                           could affect Google’s competitive standing as
 6                                                         competitors may alter their systems and
 7                                                         practices relating to competing products. It
                                                           may also place Google at an increased risk of
 8                                                         cybersecurity threats, as third parties may
                                                           seek to use the information to compromise
 9                                                         Google’s internal practices relating to
                                                           competing products.
10    Exhibit           E   Portions highlighted in        The information requested to be sealed
11    (Google’s             blue at:                       contains Google’s highly confidential and
      Supplemental                                         proprietary information regarding highly
12    Responses       and   Pages 8:2, 8:5-7, 8:9-15,      sensitive features of Google’s internal
      Objections to Fifth   8:17-18, 8:20-21, 8:23-        systems and operations, including various
13    Set              of   9:1, 9:5, 9:9, 19:3-4, 19:8-   types of Google’s internal projects, data
      Interrogatories       10, 19:12, 20:13, 20:17-       signals, and logs, and their proprietary
14
      (Nos. 27, 30, 33-     19, 20:21                      functionalities, that Google maintains as
15    34).                                                 confidential in the ordinary course of its
                                                           business and is not generally known to the
16                                                         public or Google’s competitors. Such
                                                           confidential and proprietary information
17                                                         reveals Google’s internal strategies, system
                                                           designs, and business practices for operating
18
                                                           and maintaining many of its important
19                                                         services, and falls within the protected scope
                                                           of the Protective Order entered in this action.
20                                                         See Dkt. 61 at 2-3. Public disclosure of such
                                                           confidential and proprietary information
21                                                         could affect Google’s competitive standing as
                                                           competitors may alter their systems and
22
                                                           practices relating to competing products. It
23                                                         may also place Google at an increased risk of
                                                           cybersecurity threats, as third parties may
24                                                         seek to use the information to compromise
                                                           Google’s internal practices relating to
25                                                         competing products.
26
27         5.     Google’s request is narrowly tailored in order to protect its confidential information.

28 These redactions are limited in scope and volume. Because the proposed redactions are narrowly

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 1 tailored and limited to portions containing Google’s highly-confidential or confidential information,

 2 Google requests that the portions of the aforementioned documents be redacted from any public

 3 version of those documents.

 4          6.     Google does not seek to redact or file under seal any of the remaining portions of the

 5 Motion for Leave or Exhibits not indicated in the table above.

 6          I declare under penalty of perjury of the laws of the United States that the foregoing is true

 7 and correct. Executed in San Francisco, California on May 11, 2022.

 8

 9 DATED: May 11, 2022                          QUINN EMANUEL URQUHART &
                                                SULLIVAN, LLP
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11

12                                                By          /s/ Jonathan Tse
                                                       Jonathan Tse
13
                                                       Attorney for Defendant
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                                                  5                 Case No. 4:20-cv-5146-YGR-SVK
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